        Case 1:22-cv-00340-RDM Document 29-1 Filed 04/07/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 WE CHARITY,

                        Plaintiff,
 vs.                                                     Civil Action No. 1:22-cv-00340; RDM

 CANADIAN BROADCASTING
 CORPORATION,

                        Defendant.



                        DECLARATION OF JOSEPH F. KROETSCH

        I, JOSEPH F. KROETSCH, pursuant to 28 U.S.C. § 1746, state that I have personal

knowledge of the facts set forth below and am competent to testify as follows:

        1.     I am a partner at the law firm Boies Schiller Flexner LLP, and I represent the

Plaintiff, WE Charity, in this matter.

        2.     Attached hereto as Exhibit A is a true and correct copy of an email chain between

myself and counsel for CBC.

        3.     Attached hereto as Exhibit B is a true and correct copy of a letter I sent to CBC’s

counsel on January 26, 2023.

        4.     Attached hereto as Exhibit C is a true and correct copy of a letter CBC’s counsel

sent me on February 10, 2023.

        5.     Attached hereto as Exhibit D is a true and correct copy of the Court of Appeal for

Ontario’s decision in Park Lawn Corporation v. Kahu Capital Partners Ltd., dated February 23,

2023.
        Case 1:22-cv-00340-RDM Document 29-1 Filed 04/07/23 Page 2 of 2




       6.      Attached hereto as Exhibit E is a true and correct copy of a statement to the CBC

that Mike Hetherman, a Pinball Clemons Foundation (“PCF”) donor, provided to Andy Stillman,

a longtime WE Charity donor who lives in Minnesota and California. WE Charity provided me

with PCF’s statement on March 5, 2023.

       7.      Attached hereto as Exhibit F are screenshots of text messages between Harvey

Cashore and Tania McPhee, a teacher at Craig Kielburger Secondary School, and other staff at the

Halton District School Board, concerning the district’s donations to WE Charity to support

education in Africa. WE Charity provided me with these screenshots on March 8, 2023.

       8.      Attached hereto as Exhibit G is a true and correct copy of an email chain sent to

me by WE Charity co-founder Marc Kielburger, forwarding an email originally from CBC reporter

Harvey Cashore to former WE Charity in-house counsel Nicole Davidson. I have redacted the

body text of the top email to protect privileged attorney-client communications.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed:      April 7, 2023


                                                            /s/ Joseph F. Kroetsch
                                                             Joseph F. Kroetsch




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